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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ANGEL MOGOLLAN et al.,

 
 

Plaintiffs, ORDER

-against- ;
18 Civ. 3202 (GBD) (SDA)

LA ABUNDANCIA BAKERY & RESTAURANT INC.:
et al., :

Defendants.

GEORGE B. DANIELS, United States District Judge:
The request for oral argument by Defendants on their objections to Magistrate Judge

Stewart D. Aaron’s Report and Recommendation, (ECF No. 311), is DENIED.

Dated: New York, New York
October 20, 2020
SO ORDERED.

Gray, 4 Dowdle
GipReF B. DANIELS
ited'States District Judge

 

 
